         Case 3:16-bk-02230-PMG          Doc 1121       Filed 07/18/18      Page 1 of 23




                       UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF FLORIDA
                            JACKSONVILLE DIVISION

In re:
                                                         Case No. 3:16-bk-02230-PMG
                                 1
RMS TITANIC, INC., et al.,                               Chapter 11 (Jointly Administered)

                Debtors.


     OBJECTION OF THE DEBTORS TO THE DISCLOSURE STATEMENT TO
      ACCOMPANY THE JOINT CHAPTER 11 PLAN OF REORGANIZATION
         PROPOSED BY THE OFFICIAL COMMITTEE OF UNSECURED
    CREDITORS, THE TRUSTEES OF THE NATIONAL MARITIME MUSEUM,
    THE BOARD OF TRUSTEES OF NATIONAL MUSEUMS AND GALLERIES
    OF NORTHERN IRELAND, AND RUNNING SUBWAY PRODUCTIONS, LLC

          COMES NOW RMS Titanic, Inc. (“RMST”) and certain of its affiliates, as

Debtors and Debtors-in-Possession in the above captioned cases (collectively, the

“Debtors”), by and through their undersigned counsel, hereby file this objection (the

“Objection”) pursuant to Section 1125(a) of Chapter 11 of Title 11 of the United States

Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”) to the Disclosure Statement

to Accompany the Joint Chapter 11 Plan of Reorganization Proposed by the Official

Committee of Unsecured Creditors, the Trustees of the National Maritime Museum, the

Board of Trustees of National Museums and Galleries of Northern Ireland, and Running




1
  The Debtors in the chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number include: RMS Titanic, Inc. (3162); Premier Exhibitions, Inc. (4922); Premier
Exhibitions Management, LLC (3101); Arts and Exhibitions International, LLC (3101); Premier
Exhibitions International, LLC (5075); Premier Exhibitions NYC, Inc. (9246); Premier Merchandising,
LLC (3867); and Dinosaurs Unearthed Corp. (7309). The Debtors’ service address is 3045 Kingston
Court, Suite I, Peachtree Corners, Georgia 30071.
      Case 3:16-bk-02230-PMG                Doc 1121        Filed 07/18/18        Page 2 of 23




Subway Productions LLC (the “Joint Disclosure Statement”) [D.E. 1084].2 In support

thereof, the Debtors respectfully represent the following:

                                PRELIMINARY STATEMENT

        After parsing the Joint Disclosure Statement, it is readily apparent that the

proponents’ plan is premised on little more than a phantom transaction involving insiders.

Conspicuously missing from the Joint Disclosure Statement is any disclosure that the

CEO of Running Subway (as defined below), the entity seeking to acquire the Debtors’

exhibition lines of business, is also the CEO of a member of the Creditors’ Committee.

As proposed, the Joint Disclosure Statement and accompanying plan contemplate a

private sale of the Debtors’ assets, including the Titanic Artifact Collection, that is not

subject to higher and better offers and remains subject to a financing contingency.

        As to the source of financing, the proponents merely disclose that certain of the

Museum Plan Sponsors “intend to fundraise the full amount of the Purchase Price from

government sources, several key individuals and high net worth donors, and other

sources.” Because the Joint Disclosure Statement lacks any detail as to the proponents’

“global fundraising campaign,” or whether that campaign has even begun, the purchase

price and overall transaction are entirely illusory. There is also no disclosure of the risk

factors regarding the fundraising campaign or even a timeline of when this transaction is

supposed to close and how the Debtors will be funded until then.




2
  Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to such terms in
the Joint Disclosure Statement.




                                                    2
     Case 3:16-bk-02230-PMG              Doc 1121      Filed 07/18/18     Page 3 of 23




          Adding to these blatant deficiencies, the Joint Disclosure Statement fails to include

crucial documents and information, such as the form of the Acquisition Agreements that

are referenced repeatedly throughout the document (which are critical to evaluating the

Plan and its impact on stakeholders) and a liquidation analysis. Further, although the

proposed private sale sets forth a nominally higher price than that set forth in the Asset

Purchase Agreement signed by the Debtors with stalking horse purchaser Premier

Acquisition Holdings LLC (which is subject to higher and better offers and contains no

financing contingency), the Joint Disclosure Statement contains no details or analysis

whatsoever demonstrating that the net result to creditors under this proposed private sale

would in fact be any higher. In sum, the Joint Disclosure Statement rings hollow, lacks

the transparency and financial wherewithal to be seriously considered and solicited and

the Debtors lack the financial resources to pursue the “hope and a prayer” strategy

required to proceed with it. Accordingly, the Joint Disclosure Statement should be

denied.

                                       BACKGROUND

          1.     On June 14, 2016 (the “Petition Date”), each of the Debtors filed a

voluntary petition in this Court for relief under Chapter 11 of the Bankruptcy Code and

thereby commenced these Chapter 11 cases (the “Chapter 11 Cases”).

          2.     The Debtors continue to manage and operate their businesses as debtors in

possession under sections 1107 and 1108 of the Bankruptcy Code.

          3.     On August 24, 2016, the United States Trustee appointed an Official

Committee of Unsecured Creditors (the “Creditors’ Committee”) [D.E. 166] to serve in




                                               3
     Case 3:16-bk-02230-PMG          Doc 1121     Filed 07/18/18     Page 4 of 23




these Chapter 11 Cases. The Creditors’ Committee is comprised of: (i) TSX Operating

Co., LLC (“TSX”), (ii) Dallian Hoffen Biotechnique Co., Ltd., and (iii) B.E. Capital

Management.

       4.     On June 29, 2018, the Creditors’ Committee, the Trustees of the National

Maritime Museum (“NMM”), the Board of Trustees of National Museums and Galleries

of Northern Ireland (“NMNI,” and together with NMM, collectively, the “Museum Plan

Sponsors”), and Running Subway Productions, LLC (“Running Subway,” and together

with the Museum Plan Sponsors and the Creditors’ Committee, collectively, the “Plan

Proponents”) submitted the Joint Disclosure Statement in connection with the solicitation

of votes for acceptance of the Joint Chapter 11 Plan of Reorganization Proposed by the

Official Committee of Unsecured Creditors, the Trustees of the National Maritime

Museum, the Board of Trustees of the National Museum And Galleries of Northern

Ireland, and Running Subway Productions, LLC contemporaneously filed therewith

[D.E. 1085] (the “Joint Plan”).

       5.     On July 13, 2018, the Court entered an Order abating the July 25, 2018

hearing and scheduling a status conference in its stead [D.E. 1112]. While the Debtors

have moved the Court to reconsider its July 13 Order [D.E. 1114], the Joint Disclosure

Statement has not been reset for hearing.




                                            4
     Case 3:16-bk-02230-PMG          Doc 1121      Filed 07/18/18    Page 5 of 23




                                     OBJECTION

I.     THE JOINT DISCLOSURE STATEMENT CANNOT BE APPROVED
       BECAUSE IT SOLICITS ACCEPTANCE OF A FACIALLY
       UNCONFIRMABLE PLAN.

       6.     “Allowing a facially non-confirmable plan to accompany a disclosure

statement is both inadequate disclosure and a misrepresentation. Accordingly, it is proper

to consider whether the Plan is confirmable on its face when considering whether to

approve the Disclosure Statement.” In re Oakwood Country Club, Inc., No. 10-60246-

LYN, 2010 Bankr. LEXIS 4338, at *2 (Bankr. W.D. Va. Nov. 22, 2010) (citation

omitted). See also In re Unichem Corp., 72 B.R. 95, 97 (Bankr. N.D. Ill. 1987) (denying

approval of proponents’ disclosure statement where the court found that the disclosure

statement did not contain adequate information and the plan did not comply with the

requirements of Section 1129 of the Bankruptcy Code).         The Joint Plan is facially

unconfirmable.

       7.     First, as discussed above, the Museum Plan Sponsors do not have

sufficient resources to consummate the plan they proposed. Rather, they intend to run a

global fundraising campaign in connection with the Joint Plan, for which they have not a

single financial commitment. Without any financial commitment in place the feasibility

of the Joint Plan remains suspect; NMM could fall short of its fundraising goals and walk

away from the transaction without financial consequence, all to the detriment of the

Debtors’ estates and their creditors. The resolution to these Chapter 11 Cases cannot be

unsubstantiated hope and blind faith. Moreover, the feasibility requirements of section

1129(a)(11) of the Bankruptcy Code demand that confirmation not be followed by further




                                            5
     Case 3:16-bk-02230-PMG           Doc 1121     Filed 07/18/18     Page 6 of 23




financial reorganization; especially in a case where, as here, the Debtors have a viable

and committed stalking horse proposal in place subject to higher and better offers without

any financing contingencies.

       8.      Second, it is impossible to determine from the face of the Joint Plan when

the Effective Date will occur, if ever. Article XI(B) of the Joint Plan provides that a

condition to the Effective Date is that all transactions contemplated in the Acquisition

Agreements shall have been consummated. But there is no timeline, outside date, or

even expected sale date for the Debtors’ assets in the Joint Plan or the Joint Disclosure

Statement. Worse still, the “Acquisition Agreements” are not even included in the Joint

Disclosure Statement, leaving the reader to guess what they say (or might say, to the

extent they have not yet been drafted or executed). Thus, there is no indication as to the

terms of the transactions contemplated by the Acquisition Agreements and when the

transactions might, if ever, be consummated. Theoretically, then, the Effective Date

could never occur if the Plan Proponents delay in their fundraising efforts or fail to

achieve their fundraising goal. It is conceivable that the Effective Date could drag on for

years. To be confirmable, the Plan’s effective date cannot be vague or indefinite and

should be reasonably close to the confirmation date. In re Potomac Iron Works, 217

B.R. 170, 173 (Bankr. D. Md. 1997) (“The effective date plays an important role in

valuation and should therefore be set forth in the plan with specificity.”). In particular,

when the Joint Plan is a liquidating plan, the effective date must be close in time to

confirmation to be reasonable. In re Kruegen, 66 B.R. 463, 465 (Bankr. S.D. Fla. 1986)

(holding that an effective date set at approximately four months after the confirmation




                                            6
      Case 3:16-bk-02230-PMG           Doc 1121      Filed 07/18/18     Page 7 of 23




hearing date is “beyond the interval essential for liquidation . . . [and] is unreasonable”);

see also In re Jones, 32 B.R. 951, 958 n.13 (Bankr. D. Utah 1983) (“‘The effective date

of the plan’ is expressly designated as the critical point for the major financial standards

for confirmation. The valuations required by these sections are likely to be less accurate

if the effective date is not close to the date of the hearing on confirmation.”). As drafted,

the Joint Plan provides no meaningful way to discern the Effective Date and is, therefore,

unconfirmable on its face.

       9.      Accordingly, the Joint Plan is patently unconfirmable and approval of the

Joint Disclosure Statement should be denied.

II.    THE JOINT DISCLOSURE STATEMENT FAILS TO PROVIDE
       ADEQUATE INFORMATION AS REQUIRED UNDER SECTION 1125 OF
       THE BANKRUPTCY CODE

       A.      Standard of Review

       10.     Section 1125 of the Bankruptcy Code requires that, before a plan

proponent may solicit acceptance or rejection of a plan, the plan proponent must transmit

to the parties to be solicited a disclosure statement, containing “adequate information.”

11 U.S.C. § 1125(a)(1). The Bankruptcy Code defines “adequate information” as:

               information of a kind, and in sufficient detail, as far as is
               reasonably practicable in light of the nature and history of
               the debtor and the condition of the debtor’s books and
               records, including a discussion of the potential material
               Federal tax consequences of the plan to the debtor, any
               successor to the debtor, and a hypothetical investor typical
               of the holders of claims or interests in the case, that would
               enable such a hypothetical investor of the relevant class to
               make an informed judgment about the plan, . . . and in
               determining whether a disclosure statement provides
               adequate information, the court shall consider the




                                             7
      Case 3:16-bk-02230-PMG          Doc 1121     Filed 07/18/18     Page 8 of 23




               complexity of the case, the benefit of additional information
               to creditors and other parties in interest, and the cost of
               providing additional information; . . .
Id.

         11.   The legislative history of section 1125 of the Bankruptcy Code states that

“[t]he disclosure statement was intended by Congress to be the primary source of

information upon which creditors and shareholders would make an informed judgment

about a plan of reorganization.” In re Jeppson, 66 B.R. 269, 291 (Bankr. D. Utah 1986).

The purpose of a disclosure statement is “to give all creditors a source of information

which allows them to make an informed choice regarding the approval or rejection of a

plan.” Duff v. United States Trustee (In re California Fid., Inc.), 198 B.R. 567, 571

(B.A.P. 9th Cir. 1996).     As a result, a disclosure statement should be approved only

when it sets forth “all those factors presently known to the plan proponent that bear upon

the success or failure of the proposals contained in the plan.” In re Scioto Valley, 88

B.R. 168, 170 (Bankr. S.D. Ohio 1988) (citing In re The Stanley Hotel, Inc., 13 B.R.

926, 929 (Bankr. D. Colo. 1981)). See, e.g., In re Walker, 198 B.R. at 479-480 (Bankr.

E.D. Va. 1996); In re Cardinal Congregate, 121 B.R. 760, 765 (Bankr. S.D. Ohio

1990).

         12.   Furthermore, because creditors rely on the disclosure statement prior to

voting on or considering the bona fides of a plan of reorganization, “it is crucial that a

[plan proponent] be absolutely truthful” so that the disclosure statement satisfies section

1125(a)(1) of the Bankruptcy Code. Galerie Des Monnaies of Geneva, Ltd. v. Deutsche

Bank, A.G., N.Y. Branch (In re Galerie Des Monnaies of Geneva, Ltd.), 55 B.R. 253,




                                            8
      Case 3:16-bk-02230-PMG           Doc 1121      Filed 07/18/18     Page 9 of 23




259 (Bankr. S.D.N.Y. 1985), aff’d, 62 B.R. 224 (S.D.N.Y. 1986). It is of prime

importance that a proponent’s disclosure be “full and fair.” Momentum Mfg. Corp. v.

Employee Creditors Comm. (In re Momentum Mfg. Corp.), 25 F.3d 1132, 1136 (2d Cir.

1994). See, e.g., Ryan Ops. G.P. v. Santiam-Midwest Lumber Co., 81 F.3d 355, 362

(3d Cir. 1996) (“Because creditors and the bankruptcy court rely heavily on the debtor’s

disclosure statement in determining whether to approve a proposed reorganization plan,

the importance of full and honest disclosure cannot be overstated.”). This requires, at a

minimum, the disclosure statement to “clearly and succinctly inform the average

unsecured creditor what it is going to get, when it is going to get it, and what

contingencies there are to getting its distribution.” In re Ferretti, 128 B.R. 16, 19 (Bankr.

D.N.H. 1991).

       13.     Here, the Disclosure Statement, as submitted by the Plan Proponents, is

wholly deficient in numerous respects.

       B.      The Disclosure Statement Fails to Disclose Adequate Information

       14.     Approval should be withheld if the disclosure statement does not contain

information such that all creditors and equity holders can make an intelligent and

informed decision as to whether to accept or reject, or support or oppose, the proposed

plan. See In re Copy Crafters Quickprint, Inc., 92 B.R. 973, 980 (Bankr. N.D.N.Y.

1988). In this case, adequate disclosure is even more important because the Joint Plan is

being proposed by purported fiduciaries for creditors; exclusivity has lapsed; the Debtors

have filed a sale motion; and both the Creditors’ Committee and Equity Committee are

attempting to proceed with their own plans. If unsecured creditors voting on a plan are




                                             9
     Case 3:16-bk-02230-PMG          Doc 1121      Filed 07/18/18    Page 10 of 23




to have truly adequate information, a disclosure statement so sorely lacking in critical

details cannot be permitted to go out for solicitation. The Debtors submit that the

information in the Joint Disclosure Statement purportedly relating to the Plan Sponsors’

purchase of the Debtors’ assets is wholly inadequate.

        15.    Contrary to the requirement that a proponent’s disclosure statement be

truthful, the Joint Disclosure Statement is devoid of any disclosure as to the composition

of the Creditors’ Committee and Running Subway’s relationship to its members. As

noted above, the Joint Disclosure Statement and Joint Plan contemplate that Running

Subway will purchase substantially all of the Debtors’ assets that are not Museum

Purchased Assets. The Joint Disclosure Statement states that, amid creditor concern that

the Museum Plan Sponsors’ bid for the Artifact Collection would leave uncertainty with

respect to the disposition of the Debtors’ remaining assets, NMM began negotiations with

Running Subway to put forth a joint bid for substantially all of the assets of the Debtors.

(Joint Disclosure Statement, at 17-18). While the Joint Disclosure Statement goes out of

its way to describe the importance of Running Subway’s insertion into the sale process,

it utterly fails to disclose Running Subway’s relationship with, and indirect role on, the

very committee that allegedly raised concerns with the Museum Plan Sponsors’ bid in the

first place.

        16.    The CEO of Running Subway, James R. Sanna, is also the CEO of TSX,

one of the members of the Creditors’ Committee. Because he sits on the Creditors’

Committee, Mr. Sanna has access to confidential information as to the Joint Plan

including, for example, the purported inadequacies of the Museum Plan Sponsors’ bid




                                            10
     Case 3:16-bk-02230-PMG          Doc 1121      Filed 07/18/18     Page 11 of 23




for the Titanic Artifact Collection.    His ability to leverage that information to the

advantage of the Plan Proponents and Running Subway – a direct competitor of the

Debtors – unequivocally required disclosure to all of the Debtors’ stakeholders. Thus,

the Plan Proponents’ omission of Mr. Sanna’s insider relationship with the Creditors’

Committee and Running Subway is inexplicable.            Particularly so when the Plan

Proponents allege that Running Subway is crucial to the viability of the Joint Plan. The

absence of such disclosure can only raise negative inferences as to the bona fides of the

joint bid underlying the Joint Plan and demonstrates the inadequacy of the Joint

Disclosure Statement

       17.     In addition to the failure to disclose the insider nature of the transaction,

the Joint Disclosure Statement and Joint Plan provide no information relative to the sale

of the Debtor’s assets to the Plan Sponsors or the related sale process beyond summarily

identifying the assets that they intend to purchase.     The Joint Disclosure Statement

provides only that “NMM, NMNI, and Titanic Belfast intend to fundraise the full amount

of the Purchase Price from government sources, several key individuals, and high new

worth donors, and other sources.” (Joint Disclosure Statement, at 19). As evidenced by

this statement, neither the Joint Disclosure Statement nor the Joint Plan contains a firm

commitment from even a single individual or entity with respect to the purchase price,

which is illusive at best. Further, the Joint Disclosure Statement neglects to provide any

information regarding: (i) who will be conducting “global fundraising campaign” on

behalf of, or in conjunction with, NMM, NMNI, and Titanic Belfast; (ii) where these

parties are at in their fundraising efforts; or (iii) whether that process has even begun.




                                            11
     Case 3:16-bk-02230-PMG              Doc 1121    Filed 07/18/18      Page 12 of 23




Nor does the Joint Disclosure Statement provide any risk factors associated with this

fundraising campaign.

       18.     Without a firm financial commitment to close the proposed transaction,

the Museum Plan Sponsors could fall short of their $19.2 million fundraising goal and

walk away from their proposed private sale as late as the date of the closing without any

financial consequence. There exists no mechanism or instrument that requires the Plan

Sponsors to acquire the Debtors’ assets at any threshold amount. If, for example, the

Plan Sponsors raised only $17 million, at best that transaction would close and yield less

than the Debtors have already achieved through the fully committed staking horse bid

they have has been presented to the Court, which sets a floor at $17.5 million for the

Debtors’ assets and remains subject to higher and better offers. Making matters worse,

the approval of the Joint Disclosure Statement would trigger a default under the Debtors’

Asset Purchase Agreement with the stalking horse bidder. As a result, if the Joint

Disclosure Statement is approved it could jeopardize the only viable, funded transaction

and send these Chapter 11 Cases into a tailspin with no end or recovery in sight for

creditors. This risk factor is not described in any detail in the Joint Disclosure Statement,

and alone should justifies its denial.

       19.     The Joint Disclosure Statement also wholly fails to address the litigation

risk and associated drain on estate resources that would result from a competing chapter

11 plan process. This is not just the cost of solicitation, but the exorbitant legal fees – all

of which will be borne by these estates – that will be incurred by counsel for the Debtors,

Creditors Committee and Equity Committee, in what will undoubtedly be a vehemently




                                              12
     Case 3:16-bk-02230-PMG            Doc 1121     Filed 07/18/18     Page 13 of 23




contested chapter 11 confirmation process. Indeed, even if the Plan Proponents secured

a firm commitment for $19.2 million, the litigation costs associated with contested

confirmation could very quickly and easily erode any allegedly higher incremental value.

Disclosure of this substantial risk to creditors is completely absent from the Joint

Disclosure Statement. Notably, the avoidance of such costs was a key consideration for

the Debtors in approving the Stalking Horse bid and proceeding with an open, competitive

sales process.

       20.       Similarly, the Joint Plan lacks any timeline for when the Effective Date of

the Joint Plan will occur. A condition to the Effective Date is that all transactions

contemplated in the Acquisition Agreements shall have been consummated. However,

there is no outside date or any other means to determine when the sale contemplated in

the Acquisition Agreements will or must occur, if ever. As drafted, the Joint Plan could

take years to become effective, or if the Plan Proponents so chose, never. As discussed

below, this is not only an issue for adequate disclosure, but renders the Joint Plan facially

unconfirmable.

       21.       Due to the overarching ambiguity as whether a sale will even occur under

the Joint Plan, the Joint Disclosure Statement also fails to provide any timeframe in which

creditors can expect a recovery. Article I(C) of the Disclosure Statement states only that

the “Liquidation Trust will make an initial distribution from the Liquidation Trust to

holders of Allowed Claims from the proceeds of the Sale and will thereafter make one or

more interim distributions of proceeds of the Liquidation Trustee’s administration of the

Liquidation Trust Assets, culminating in a final distribution to be made upon the




                                             13
     Case 3:16-bk-02230-PMG            Doc 1121       Filed 07/18/18     Page 14 of 23




completion of the Liquidation Trustee’s administration of the Liquidation              Trustee

Assets.” (Joint Disclosure Statement, at 7). With the timing and likelihood of any sale

uncertain, the Joint Disclosure Statement provides no basis for an interested stakeholder

to gauge when they might receive a distribution. Nor does the Joint Disclosure Statement

provide creditors with an estimated return on their claims.

        22.     In addition, neither executed copies nor forms of the Acquisition

Agreements have been included with the Joint Disclosure Statement and accompanying

Joint Plan. Conveniently, this omission illusively makes the Joint Plan’s “purchase

price” appear higher than the purchase price proposed in the Debtors’ Asset Purchase

Agreement, because the reader has no way of comparing the two. Thus, while the Plan

Proponents seek to begin solicitation on their Plan, they omit critical information to their

proposed transaction, including, but not limited to, which executory contracts and/or

unexpired leases are to be assumed as part of their Plan, leaving key vendors in limbo

and creditors unable to assess the pool of claims against the purchase price. These

omissions also fail to address the effect on distributions to creditors as a result of rejection

of any executory contracts (particularly any post-petition contracts, the rejection of which

would result in administrative expense claims). All of this information must be disclosed

if the creditors and stakeholders are to make a reasoned evaluation of the Joint Plan.

        23.     The Joint Disclosure Statement also fails to include any list or description

of the scheduled claims against the Debtors or the impact of any such claims being

allowed or disallowed. Detail as to claims against the estates is required in a disclosure

statement. See In re Grabanski, No. 10-30902, 2013 Bankr. LEXIS 1593, at *18 (Bankr.




                                              14
     Case 3:16-bk-02230-PMG           Doc 1121      Filed 07/18/18     Page 15 of 23




D.N.D. Apr. 12, 2013) (noting that the court properly sustained objections to the debtor’s

disclosure statement because, among other things, it did not “list scheduled claims.”); In

re Ferretti, 128 B.R. at 19 (“the [disclosure] statement should inform the reader what the

undisputed claims are, what the disputed claims are, [and] what effect, if any, there will

be on the distribution if disputed claims are or are not allowed … .”). Further, the Joint

Disclosure Statement does not contain a liquidation analysis or even an analysis of

executory contracts to be assumed or rejected, which are reasons in and of themselves

not to approve it.

       24.     In short, the Joint Disclosure Statement provides little information upon

which creditors and stakeholders can evaluate the Joint Plan and determine whether it is

in their best interest. For this reason, the Joint Disclosure Statement should not be

approved.

                                    RESERVATION

       25.     The Debtors reserve all rights to raise the issues contained in this Objection

and any other related issues in any contested matter and/or adversary proceeding,

including, without limitation, objections to confirmation of the Joint Plan or any other

plan. The Debtors further reserve their rights to amend, modify, or supplement this

Objection in response to, or as a result of, any discovery conducted in connection with

confirmation of the Joint Plan and/or other submission in connection with the Joint Plan

or any other plan. Finally, the Debtors reserve their right to adopt any other objections

to approval of the Joint Disclosure Statement, or any other disclosure statement, filed by

any other party in interest.



                                            15
     Case 3:16-bk-02230-PMG         Doc 1121     Filed 07/18/18   Page 16 of 23




                                   CONCLUSION

       WHEREFORE, the Debtors requests that the Court (i) deny approval of the Joint

Disclosure Statement for its failure to provide adequate information and/or because the

accompanying Joint Plan is unconfirmable on its face, and (ii) grant the Debtors such

further relief as the Court may deem just and proper.


                                    NELSON MULLINS RILEY
                                    & SCARBOROUGH LLP


                                    By         /s/ Daniel F. Blanks
                                           Daniel F. Blanks (FL Bar No. 88957)
                                           Lee D. Wedekind, III (FL Bar No. 670588)
                                           50 N. Laura Street, Suite 4100
                                           Jacksonville, FL 32202
                                           (904) 665-3656 (direct)
                                           (904) 665-3699 (fax)
                                           daniel.blanks@nelsonmullins.com
                                           lee.wedekind@nelsonmullins.com

                                    and

                                    TROUTMAN SANDERS LLP
                                    Harris B. Winsberg (GA Bar No. 117751)
                                    Matthew R. Brooks (GA Bar No. 378018)
                                    600 Peachtree Street NE, Suite 5200
                                    Atlanta, GA 30308
                                    (404) 885-3000 (phone)
                                    (404) 962-6990 (fax)
                                    harris.winsberg@troutmansanders.com
                                    matthew.brooks@troutmansanders.com

                                    Counsel for the Debtors and Debtors in Possession




                                          16
     Case 3:16-bk-02230-PMG         Doc 1121     Filed 07/18/18    Page 17 of 23




                           CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was
electronically filed with the Clerk of the Court using CM/ECF on July 18, 2018. I also
certify that the foregoing document is being served this day on the following counsel of
record via transmission of Electronic Filing generated by CM/ECF:

 Jay B. Verona, Esq.                        Jill E. Kelso, Esq.
 Shumaker, Loop & Kendrick, LLP             Miriam G. Suarez, Esq.
 101 E. Kennedy Blvd., Suite 2800           Office of the United States Trustee
 Tampa, FL 33602                            400 W. Washington Street, Suite 1100
 (813) 229-7600                             Orlando FL 32801
 jverona@slk-law.com                        (407) 648-6301 ext. 137
 Attorneys for George F. Eyde               jill.kelso@usdoj.gov
 Orlando, LLC and Louis J. Eyde             Miriam.g.suarez@usdoj.gov
 Orlando, LLC                               Attorneys for Guy G. Gebhardt,
                                            Acting U.S. Trustee for Region 21

 Scott M. Grossman, Esq.                    Ari Newman, Esq.
 Greenberg Traurig                          Greenberg Traurig, P.A.
 401 East Las Olas Boulevard, Suite 2000    333 S.E. 2nd Avenue, Suite 4400
 Fort Lauderdale, FL 33301                  Miami, FL 33131
 (954) 768-5212                             (305) 579-0500
 grossmansm@gtlaw.com                       newmanar@gtlaw.com
 Attorneys for Lang Feng, Haiping Zou,      Attorneys for Lang Feng, Haiping Zou,
 Jihe Zhang, and High Nature Holdings       Jihe Zhang, and High Nature Holdings
 Limited                                    Limited

 Jason B. Burnett, Esq.                     Andrew T. Jenkins, Esq.
 GrayRobinson, P.A.                         Bush Ross, P.A.
 50 N. Laura Street, Suite 1100             P.O. Box 3913
 Jacksonville, FL 32202                     Tampa, FL 33601-3913
 (904) 598-9929                             (813) 224-9255
 jason.burnett@gray-robinson.com            ajenkins@bushross.com
 Attorneys for 417 Fifth Avenue Real        Attorneys for Bank of America, N.A.
 Estate, LLC




                                           17
   Case 3:16-bk-02230-PMG            Doc 1121      Filed 07/18/18    Page 18 of 23




Matthew J. Troy, Esq.                           Kathy A. Jorrie, Esq.
U.S. Dept. of Justice                           Pillsbury Winthrop Shaw Pittman LLP
1100 L Street NW, Suite 10030                   725 S. Figueroa Street, Suite 2800
Washington, DC 20005                            Los Angeles, CA 90017
(202) 514-9038                                  (213) 488-7251
matthew.troy@usdoj.gov                          Kathy.jorrie@pillsburylaw.com
Attorneys for the United States Department      Attorneys for AEG Presents, LLC
of Commerce, National Oceanic and
Atmospheric Administration

Brian D. Equi, Esq.                             J. Ellsworth Summers, Jr., Esq.
Goldberg Segalla, LLP                           Burr Forman, LLP
121 S. Orange Avenue, Suite 1500                50 N. Laura Street, Suite 3000
Orlando, FL 32801                               Jacksonville, FL 32202
(407) 458-5608                                  (904) 232-7200
bequi@goldbergsegalla.com                       esummers@burr.com
salamina@goldbergsegalla.com                    Attorneys for Michael J. Little
sherndon@goldbergsegalla.com
Attorneys for Structure Tone, Inc.

Norman P. Fivel, Esq.                           D. Marcus Braswell, Jr., Esq.
Assistant Attorney General                      Sugarman & Susskind, P.A.
Office of the New York State                    100 Miracle Mile, Suite 300
Attorney General                                Coral Gables, FL 33134
Civil Recoveries Bureau,                        (305) 529-2801
Bankruptcy Litigation Unit                      mbraswell@sugarmansusskind.com
The Capitol                                     Attorneys for Theatrical Protective Union,
Albany, NY 12224-0341                           Local No. One, IATSE
(518) 776-2264
norman.fivel@ag.ny.gov
Attorneys for New York Dept. of Taxation
and Finance

Chris Broussard, Esq.                           Richard R. Thames, Esq.
Suzy Tate, P.A.                                 Thames Markey & Heekin, P.A.
14502 N. Dale Mabry Highway, Suite 200          50 N. Laura Street, Suite 1600
Tampa, FL 33618                                 Jacksonville, FL 32202
(813) 264-1685                                  (904) 358-4000
cbrouss@suzytate.com                            rrt@tmhlaw.net
Attorneys for The Armada Group GP, Inc.         Attorneys for Official Committee of
                                                Unsecured Creditors




                                           18
    Case 3:16-bk-02230-PMG            Doc 1121    Filed 07/18/18    Page 19 of 23




Avery Samet, Esq.                              Peter J. Gurfein, Esq.
Jeffrey Chubak, Esq.                           Roye Zur, Esq.
Storch Amini & Munves PC                       Landau Gottfried & Berger LLP
140 East 45th Street, 25th Floor               1801 Century Park East, Suite 700
New York, NY 10017                             Los Angeles, CA 90067
(212) 490-4100                                 (310) 557-0050
asamet@samlegal.com                            pgurfein@lgbfirm.com
jchubak@samlegal.com                           rzur@lgbfirm.com
Attorneys for Official Committee of            Attorneys for Official Committee of Equity Security
Unsecured Creditors                            Holders of Premier Exhibitions, Inc.

Jacob A. Brown, Esq.                           Skyler M. Tanner, Esq.
Katherine C. Fackler, Esq.                     Lane Powell PC
Akerman LLP                                    601 SW Second Avenue, Suite 2100
50 N. Laura Street, Suite 3100                 Portland, OR 97204
Jacksonville, FL 32202                         tanners@lanepowell.com
(904) 798-3700                                 beldingt@lanepowell.com
jacob.brown@akerman.com                        docketing-pdx@lanepowell.com
katherine.fackler@akerman.com                  Attorneys for Oregon Museum of Science and
Attorneys for the Official Committee of        Industry
Equity Security Holders of Premier
Exhibitions, Inc.

T. David Mitchell, Esq.                        Howard Siegel, Esq.
Brenner Kaprosy Mitchell, L.L.P.               945 McKinney Street, PMB 434
30050 Chagrin Blvd., Suite 100                 Houston, TX 77002
Pepper Pike, OH 44124                          (713) 984-4801
(216) 292-5555                                 howard@eucinv.com
tdmitchell@brenner-law.com                     Attorney for Euclid Investments, LP
Attorneys for CRI Properties, Ltd.             And Euclid Claims Recovery LLC

Susan R. Sherrill-Beard, Esq.                  Garrett A. Nail, Esq.
U.S. Securities and Exchange Commission        John F. Isbell, Esq.
Office of Reorganization                       Thompson Hine LLP
950 East Paces Ferry Road, N.E.                3560 Lenox Road, Suite 1600
Suite 900                                      Atlanta, GA 30326
Atlanta, GA 30326                              (404) 541-2900
(404) 842-7626                                 garrett.nail@thompsonhine.com
sherrill-beards@sec.gov                        john.isbell@thompsonhine.com
atlreorg@sec.gov                               Attorneys for Bay Point Capital Partners, LP
Attorneys for U.S. Securities and
Exchange Commission




                                          19
    Case 3:16-bk-02230-PMG            Doc 1121       Filed 07/18/18    Page 20 of 23




Steven R. Fox, Esq.                               Stephen D. Busey, Esq.
Fox Law Corporation                               Asghar A. Syed, Esq.
17835 Ventura Blvd., Suite 306                    Smith Hulsey & Busey
Encino, CA 91316                                  225 Water Street, Suite 1800
srfox@foxlaw.com                                  Jacksonville, FL 32202
Attorneys for Titanic Entertainment               (904) 359-7700
Holdings                                          busey@smithhulsey.com
                                                  asyed@smithhulsey.com
                                                  Attorneys for the Ad Hoc Group of Equityholders

Jennifer Feldsher, Esq.                           Patricia Ann Redmond, Esq.
David L. Lawton, Esq.                             Stearns Weaver, et al.
Bracewell LLP                                     150 West Flagler Street, Suite 2200
1251 Avenue of the Americas                       Miami, FL 33130
New York, NY 10020                                (305) 789-3200
(212) 508-6100                                    predmond@stearnweaver.com
Jennifer.feldsher@bracewell.com                   Attorneys for the Trustees of the National Maritime
David.laweton@bracewell.com                       Museum
Attorneys for the Ad Hoc Group of
Equityholders

Timothy Graulich, Esq.                            Jason B. Burnett, Esq.
James I. McClammy, Esq.                           Ashlea A. Edwards, Esq.
Mara Theophila, Esq.                              GrayRobinson, P.A.
Davis Polk & Wardwell LLP                         50 N. Laura Street, Suite 1100
450 Lexington Avenue                              Jacksonville, FL 32202
New York, NY 10017                                (904) 598-9929
(212) 450-4000                                    jason.burnett@gray-robinson.com
Timothy.graulich@davispolk.com                    ashlea.edwards@gray-robinson.com
James.mcclammy@davispolk.com                      Attorneys for Ramparts, Inc. d/b/a Luxor Hotel
Mara.theophila@davispolk.com                      and Casino
Attorneys for the Trustees of the National
Maritime Museum




                                             20
    Case 3:16-bk-02230-PMG    Doc 1121   Filed 07/18/18   Page 21 of 23




Via U.S. Mail

A-1 Storage and Crane                  ABC Imaging
2482 197th Avenue                      5290 Shawnee Road, Suite 300
Manchester, IA 52057                   Alexandria, VA 22312

A.N. Deringer, Inc.                    ATS, Inc.
PO Box 11349                           1900 W. Anaheim Street
Succursale Centre-Ville                Long Beach, CA 90813
Montreal, QC H3C 5H1

Broadway Video                         CBS Outdoor/Outfront Media
30 Rockefeller Plaza                   185 US Highway 48
54th Floor                             Fairfield, NJ 07004
New York, NY 10112

Dentons Canada LLP                     Enterprise Rent-A-Car Canada
250 Howe Street, 20th Floor            709 Miner Avenue
Vancouver, BC V6C 3R8                  Scarborough, ON M1B 6B6

Expedia, Inc.                          George Young Company
10190 Covington Cross Drive            509 Heron Drive
Las Vegas, NV 89144                    Swedesboro, NJ 08085
Gowlings                               Hoffen Global Ltd.
550 Burrard Street                     305 Crosstree Lane
Suite 2300, Bental 5                   Atlanta, GA 30328
Vancouver, BC V6C 2B5

Kirvin Doak Communications             MNP LLP
5230 W. Patrick Lane                   15303 - 31st Avenue
Las Vegas, NV 89118                    Suite 301
                                       Surrey, BC V3Z 6X2

Morris Visitor Publications            NASDAQ Stock Market, LLC
543 Broad Street                       805 King Farm Blvd.
Augusta, GA 30901                      Rockville, MD 20850

National Geographic Society            NYC Dept. of Finance
1145 - 17th Avenue NW                  PO Box 3646
Washington, DC 20036                   New York, NY 10008




                                  21
   Case 3:16-bk-02230-PMG         Doc 1121    Filed 07/18/18     Page 22 of 23




PacBridge Limited Partners                 Pallet Rack Surplus, Inc.
22/F Fung House                            1981 Old Covington Cross Road NE
19-20 Connaught Road                       Conyers, GA 30013
Central Hong Kong

Screen Actors Guild                        Seaventures, Ltd.
1900 Broadway                              5603 Oxford Moor Blvd.
5th Floor                                  Windemere, FL 34786
New York, NY 10023

Sophrintendenza Archeologica               Syzygy3, Inc.
di Napoli e Pompei                         231 West 29th Street
Piazza Museo 19                            Suite 606
Naples, Italy 80135                        New York, NY 10001

Time Out New York                          TPL
405 Park Avenue                            3340 Peachtree Road
New York, NY 10022                         Suite 2140
                                           Atlanta, GA 30326

TSX Operating Co.                          Verifone, Inc.
70 West 40th Street                        300 S. Park Place Blvd.
9th Floor                                  Clearwater, FL 33759
New York, NY 10018

WNBC - NBC Universal Media                 Jonathan B. Ross, Esq.
30 Rockefeller Center                      Gowling WLG (Canada) LLP
New York, NY 10112                         550 Burrard Street, Suite 2300, Bentall 5
                                           Vancouver, BC V6C 2B5
United States Attorney’s Office            Christine R. Etheridge, Esq.
Middle District of Florida                 Bankruptcy Administration
300 N. Hogan Street, Suite 700             Wells Fargo Vendor Financial Services, LLC
Jacksonville, FL 32202                     PO Box 13708
                                           Macon, GA 31208

B.E. Capital Management Fund LP            TSX Operating Co., LLC
Thomas Branziel                            c/o James Sanna
228 Park Avenue South, Suite 63787         70 W. 40th Street
New York, NY 10003                         New York, NY 10018
Creditor Committee                         Creditor Committee




                                      22
      Case 3:16-bk-02230-PMG      Doc 1121      Filed 07/18/18    Page 23 of 23




 Dallian Hoffen Biotechnique Co., Ltd.        AEG Presents LLC
 c/o Ezra B. Jones                            c/o Managing Member
 305 Crosstree Lane                           5750 Wilshire Blvd.
 Atlanta, GA 30328                            Suite 501
 Creditor Committee                           Los Angeles, CA 90036-3638

 AEG Presents LLC                             AEG Presents LLC
 c/o Managing Member                          c/o Managing Member
 800 W. Olympic Blvd.                         425 W. 11th Street
 Suite 305                                    Los Angeles, CA 90015-3459
 Los Angeles, CA 90015

 AEG Presents LLC
 c/o CT Corporation System,
 Registered Agent
 ATTN: Amanda Garcia
 818 West Seventh Street
 Suite 930
 Los Angeles, CA 90017


                                                  /s/ Daniel F. Blanks
                                                         Attorney




~#4842-3847-6653~




                                         23
